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1                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK
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                                         :
5    AMPLIFY EDUCATION, INC.,            :
                                         :        13-CV-2687 (LTS)
6                        Plaintiffs,     :
                                         :
7                    v.                  :        October 25, 2013
                                         :        New York, New York
8    GREENWOOD PUBLISHING GROUP, INC.,   :
                                         :
9                        Defendant.      :
     ------------------------------------X
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       TRANSCRIPT OF CIVIL CAUSE FOR INITIAL PRETRIAL CONFERENCE
11              BEFORE THE HONORABLE LAURA TAYLOR SWAIN
                      UNITED STATES DISTRICT JUDGE
12

13   APPEARANCES:

14
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17

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     Proceedings recorded by electronic sound recording,
     transcript produced by transcription service
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 1              THE COURT: Good morning.      Please be seated.

 2              This is the initial pretrial conference in the

 3   matter of Amplify Education v. Greenwood Publishing Group

 4   a/k/a Heinemann, Number 13-CV-2687.

 5              For the benefit of the digital audio record, this is

 6   Judge Swain speaking.     Counsel, would you be good enough to

 7   introduce yourselves by way of stating your appearances?

 8              MR. MUKERJI:    Good morning, Your Honor.       Indranil

 9   Mukerji from Fish & Richardson.       With me from my firm is

10   Karolina Jesien and our general counsel Laz Koffitz [Ph.] is

11   here as well.

12              THE COURT: good morning, Mr. Mukerji, Ms. Jesien and

13   Mr. Koffitz.

14              MR. GUNTHER:    Good morning, Your Honor.       For

15   Greenwood Heinemann, Bob Gunther from Wilmer Hale and with me

16   is my colleague Cosmin Maier.

17              THE COURT: Good morning, Mr. Gunther and Mr. Maier.

18              Thank you for your joint preconference report.          That

19   was very helpful to me in preparing for the conference.           So I

20   -- what I intend to do is go through a couple of the issues

21   that you addressed but mostly the reports is clear and

22   comprehensive, explain a couple of features of my case

23   management.    I’ll enter a scheduling order and give you

24   conformed copies of the order before we part company.

25              So I see that you agreed to enter into -- to the
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 1   entry of the form patent e-discovery order which was

 2   recommended by the advisory counsel of the federal circuit.

 3   And so I have prepared a form of that order which if you’ll

 4   give me a second I’m going to find so that I can keep track of

 5   everything and I will enter that.       I will give you conformed

 6   copies of that.    So that’s here.

 7              I apologize that the initial conference orders

 8   reference to certain Northern District of California rules

 9   hadn’t been updated to coordinate with our Southern District

10   rules.   What I do since the adoption of the Southern District

11   rules is still add on certain features of the Northern

12   District rules so that the local rules apply but I adopt the

13   formatting principles of the Northern District 3-1 plain terms

14   chart in terms of content and also the disclosure provisions

15   that accompany that Northern District rule in implementing the

16   Southern District’s rules which are phrased more generally.

17   So I will incorporate those provisions of 3-1.          I think it’s

18   3-1, 3-2, 3-3 and 3-4 in conjunction with the scheduling

19   provisions that refer to our local rule provisions, and that

20   will all be set out in the scheduling order.

21              I would like to hear from Heinemann a little bit

22   more about the claim narrowing procedure proposal.          I

23   certainly think it makes a great deal of sense for the parties

24   to use best efforts and to have particular points of encounter

25   specified is helpful.     Would you talk to me a little bit about
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 1   the proposed case narrowing statement aspect of the proposal?

 2              MR. GUNTHER: Yes, Your Honor.       So they have two

 3   patents.   We have one.    They have a total of 66 claims with

 4   the two patents.    We have -- with our one patent 68 claims.

 5   So our thought was -- and we’re really -- the rubber really

 6   hits the road I think is when you get to the point of

 7   invalidity contentions because that’s where if parties are

 8   asserting 40 or 45 claims there can be just an awful lot of

 9   work that has to be done and I think the general experience is

10   by the time we get to trial we’re usually down to five claims

11   or less for the most part.

12              So our thought was that two good points to try to

13   look at that issue was first, before we actually submit our

14   infringement contentions and so we had suggested a meet and

15   confer procedure where the parties would get together and see

16   if we could agree on a number of claim terms at that point.

17   Our feeling was that if we couldn’t that we ought to report to

18   you basically with each making a short statement about where

19   we think we are on claim narrowing seven days after that

20   period and then we thought if we -- maybe that might be a

21   little bit early.    Maybe we’d be lucky and we’d be able to get

22   an agreement at that point but if we couldn’t the next logical

23   point it seems to us would be at the fact discovery before we

24   go into expert reports where the difficulty of actually having

25   to lay out all of the invalidity contentions for multiple
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 1   claims that might not ever get to trial would be another good

 2   place to look at it.

 3                So we thought again meet and confer before the close

 4   of fact discovery, see if we could agree on a reduced number

 5   of claims for both sides.      If we can’t, report to you again

 6   within seven days and then I think that might make sense at

 7   either point to maybe get back together with the court to see

 8   where we are and to see whether we’re making progress or

 9   whether there’s some way for the court to assist us in making

10   progress in narrowing the scope of the case.

11                THE COURT: So you’re not thinking of the claim

12   narrowing statement as being -- as initiating some sort of

13   formal early summary judgment motion practice or anything like

14   that but as a thoughtful memorialization of the parties

15   positions at that point in time and a possible predicate for a

16   conference with the court if the parties believe that that

17   would be useful at that time?

18                MR. GUNTHER: That’s correct, Your Honor.

19                THE COURT: Mr. Mukerji, are you amenable to that

20   procedure?

21                MR. MUKERJI: Yes, Your Honor.     So certainly we’re

22   willing to work with the other side to narrow the number of

23   claims.   It would be suicidal to try 134 patent claims.

24                THE COURT: I’m glad you agree.

25                MR. MUKERJI: The issue we’re wrestling with is that
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 1   the counterclaim patent that Heinemann has asserted against us

 2   is one that they obtained it recently right before the

 3   counterclaim.    It’s something that we’re still getting up to

 4   speed on.

 5               So I think what Mr. Gunther says about the convening

 6   right at the end of fact discovery to try to narrow it before

 7   expert discovery makes a lot of sense.        I don’t know at this

 8   early stage whether we would meaningfully be able to sort of

 9   assess what it means to narrow claims.

10               The other thing I would note is typically what I’ve

11   seen when we go through this exercise of narrowing claims and

12   streamlining things for trial is that there’s a quid pro quo

13   where the defendant, the accused infringer, basically also

14   narrows the number of prior art references that they’ll bring

15   against the claims and that way it’s a bilateral streamlining

16   that happens.    I would suspect that Mr. Gunther is not in a

17   position to do that quite yet either as we are not on their

18   counterclaim patent.

19               So I think the streamlining makes a great deal of

20   sense and it’s just a question of timing and I would suggest

21   adopting part of Mr. Gunther’s suggestion that we -- that we

22   do this at the end of fact discovery.

23               THE COURT: Well, what I was contemplating doing was

24   to include a provision in the scheduling order that says the

25   parties must make good faith efforts to minimize the number of
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 1   claims being asserted including by conferring on this issue

 2   prior to the service of infringement contentions and upon the

 3   close of fact discovery.      I hadn’t included language about the

 4   claim narrowing statement because I needed a further

 5   explanation of its function and of course I hadn’t said

 6   anything about prior art reference narrowing because that

 7   hadn’t been raised in the submission.

 8              So I think what I’m hearing from Mr. Mukerji if I

 9   can make it concrete here is that plaintiff would be amenable

10   to a claim narrowing statement requirement following the close

11   of fact discovery.     Plaintiff would like this principle and

12   the narrowing statement also expanded to cover prior art

13   references so that there would be good faith effort to

14   minimize the number of prior art references as well as the

15   number of claims but leave the situation a little more fluid

16   in terms of any submission on failure to narrow or declining

17   to narrow at the time of the original infringement than in

18   validity contention submissions.       Is that basically where you

19   are?

20              MR. MUKERJI: Your Honor just said it better than I

21   did so, yes.

22              THE COURT: I don’t know about that but I’m glad that

23   I understand.

24              Mr. Gunther, would that structure work for you?

25              MR. GUNTHER: Your Honor, I think that’s a reasonable
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 1   sort of middle ground and I think that that would work for us,

 2   yes.

 3                THE COURT: Great.   Let me scribble myself a note

 4   here and then when I put it into the order that I type up I’ll

 5   read it out to you.

 6                         [Pause in proceedings.]

 7                THE COURT: I’ll read too what I scribbled out here.

 8   So it would say the parties must make good faith efforts to

 9   minimize the number of claims being asserted and the number of

10   prior art references including by conferring on these issues

11   prior to the service of infringement contentions and upon the

12   close of fact discovery.      Within seven days following the

13   close of fact discovery if the parties have not agreed on

14   such -- just a minimization here.       They must file a joint

15   claim narrowing/prior art minimization statement with the

16   legal basis for each parties proposals for further

17   streamlining.    Does that caption the essence?

18                MR. MUKERJI: It sure does, Your Honor.       Thank you.

19                MR. GUNTHER: That’s fine, Your Honor.       Thank you

20   very much.

21                THE COURT: So I will include that in the scheduling

22   order.

23                I am going to incorporate the three brief proposal

24   of the plaintiff on Markman issues.        If I do end up referring

25   the case to a magistrate judge for general pretrial management
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 1   or for any other purpose it is my practice to be in

 2   communication with the magistrate judge so that our efforts

 3   are coordinated toward the most efficient management of the

 4   litigation.

 5              I don’t see at this point a need to enter a

 6   reference today.    So you can submit to me your protective

 7   order proposal for entry.

 8              With respect to the May 12th deadline for mediation,

 9   I’m going to include a requirement that you complete a good

10   faith mediation process by May 12, 2014, that you must inform

11   the court by letter by March 1 as to whether you want the

12   court to enter a reference to the designated magistrate judge

13   for this purpose.    So that gives you some time to decide

14   whether you want to do an outside process or with Judge Ellis.

15              So what I’ll do now is start typing up the

16   scheduling order and I will call out the dates that I’m

17   entering but since I’ll be giving each table a conformed copy

18   before we part company you don’t have to take detailed notes

19   if you don’t want to and I’ll indicate where if at all I am

20   deviating from your proposals and why.        So just bear with me

21   for a moment.

22                         [Pause in proceedings.]

23              THE COURT: It’s my practice to make the deadline for

24   applications to amend pleadings or add parties as early as

25   practicable in the discovery period so that all known claims,
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 1   defenses and potential parties are identified in the pleadings

 2   early in discovery.     So I’m going to make that deadline

 3   December 2nd of 2013.    There is a general provision for

 4   applications for amendment or modification of deadlines on a

 5   showing of good cause and so that can be invoked to the extent

 6   that discovery indicates a need for further amendments or

 7   [inaudible].

 8                         [Pause in proceedings.]

 9             THE COURT: I am adopting your November 8th deadline

10   for Rule 26 disclosures and the formula for the fact and

11   expert discovery deadlines so Paragraph 2(c) of this order

12   will read that the non expert witness discovery must be

13   completed by 60 days after the issuance of the court’s claim

14   construction order.

15             Then the expert deadline will be 150 days after the

16   issuance of the court’s claim construction -- I’m sorry, after

17   the completion of fact discovery.       150 days after the

18   completion of fact discovery.      That’s 160 and 245.

19             Then the 26(a)(2) deadline for initial reports is

20   105 days before the expert cutoff and the deadline for

21   rebuttal disclosures is 45 days before the expert cutoff.         I

22   think that incorporates your formula.

23             In 2(g) for additional limitations or provisions I’m

24   noting that you agree to forego preservation depositions.

25             So then Section 4 is titled modification and
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 1   supplementation of certain patent local rules.         So that’s the

 2   paragraph that coordinates our local rules with those couple

 3   of provisions Northern District of California that I’m pulling

 4   in and I’ll use your 60 day periods.       Just give me a moment

 5   since I have to change a couple of things in here.

 6                         [Pause in proceedings.]

 7              THE COURT: So the parties disclosures pursuant to

 8   Local Patent Rule 6 must be filed within 60 days after the

 9   date of this order and must include the information specified

10   in Rule 3-1 of the Northern District rules and be accompanied

11   by the document disclosure described in Northern District Rule

12   3-2.   Then -- one second.

13                         [Pause in proceedings.]

14              THE COURT: This isn’t -- my standard language isn’t

15   set up for bilateral infringement claims so that’s why I’m

16   having to go around and fix things.

17              Then I say the parties’ invalidity contentions

18   pursuant to the Local Rule 7 must be filed within 60 days

19   after service of their Local Rule 6 disclosure must include

20   the information described in Northern District Rule 3-3 and

21   must be accompanied by the document disclosure described in

22   Northern District Rule 3-4 and Northern District Rule 3-6 also

23   applies.

24              The disclosures pursuant to 6 and 7 must be filed

25   with the court at the time of service and then the joint claim
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 1   terms chart pursuant to Local Rule 11 has to be filed within

 2   60 days after service, after service of the Local Rule 7

 3   disclosures.

 4             Then it goes on to say if the parties believe a

 5   Markman hearing will be required the joint claim terms chart

 6   has to be accompanied by a request that the court schedule a

 7   Markman hearing and an estimate of the amount of time that

 8   should be allocated for such a hearing.

 9             Now I’m going to add the briefing provisions.           So

10   bear with me.

11                         [Pause in proceedings.]

12             THE COURT: Actually I’m running a little bit behind

13   so the 10:15 will probably be a little more like 10:30 because

14   I have one other civil case.      Thank you.

15                         [Pause in proceedings.]

16             THE COURT: So the briefing provisions now say the

17   parties must file their respective opening claim construction

18   briefs on their asserted patents within 14 days after their

19   filing pursuant to Local Rule 11.       That’s the joint claim

20   terms chart.

21             Responsive briefs within 30 days after the filing of

22   the opening briefs and reply briefs within seven days after

23   the filing of the responsive briefs.       I think that matches up

24   with the formula that you had proposed with somewhat different

25   starting accounting points.
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 1             You have to give me courtesy copies of everything at

 2   the time of filing.    So that’s what Paragraph 4 says.           One

 3   moment.

 4                         [Pause in proceedings.]

 5             THE COURT: So the joint preliminary trial report is

 6   due -- this is under the pilot project procedure.          That’s due

 7   14 days after the completion of fact discovery and at that

 8   time you make a written request to the court to schedule a

 9   case management conference at which time a dispositive motion

10   deadline and the final pretrial conference date will be set.

11   That’s in Paragraph 5 of this order.       So I’ve put TBD for the

12   dispositive motion deadline and the final pretrial conference

13   date and time.

14             I’m checking off that trial witnesses not previously

15   deposed will be made available for deposition and then I’m

16   going to put in the mediation deadline provision.

17             So I just put in there the letter notification about

18   whether you want to go to the magistrate judge or not.            Then

19   this is all in a section that is Section 13 which is captioned

20   other matters.   Now for -- so A of other matters is the trial

21   witnesses not previously deposed.       B is the mediation process,

22   and C will be the good faith efforts to minimize.          I’m just

23   going to type that in now.

24                         [Pause in proceedings.]

25             THE COURT: So I apologize in advance for any
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 1   horrible typos.    I’m trying to avoid them.      Let me save this.

 2               Folks, court is in session.      So if you need to talk

 3   please take it outside.     Thank you.

 4               Since it is a bit long I’m just printing one copy

 5   for each.

 6                         [Pause in proceedings.]

 7               THE COURT: Ms. Ing will give you your conformed

 8   copies.   Is there anything else we need to take up together

 9   this morning?

10               MR. MUKERJI: Nothing for Amplify, Your Honor.

11               MR. GUNTHER: Nothing for Greenwood/Heinemann.         Thank

12   you very much, Your Honor.

13               THE COURT: Thank you.    It’s good meeting you all.

14   Have a good weekend.

15               THE CLERK: All rise.

16                                 * * * * *

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 1        I certify that the foregoing is a court transcript from

 2   an electronic sound recording of the proceedings in the above-

 3   entitled matter.

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 6                                            Shari Riemer

 7   Dated:   December 16, 2013

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